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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION


UNITED STATES OF AMERICA

VS.                                                            Case No. 8:05-CR-144-T-27TGW

BENJAMIN C. ACKERMAN



                                              ORDER

       BEFORE THE COURT are Defendant's Motion to Suppress Evidence (Dkt. 57) and

Defendant's Motion to Suppress Post-Arrest Statements (Dkt. 58). An evidentiary hearing was

conducted on January 26, 2006. For the reasons discussed, both motions are DENIED.

       The material facts are largely undisputed. At approximately 5: 15 A.M. on February 23,2005,

Bradenton Police Officer William Weldon responded to a "loud music" complaint to the Shore Walk

community, a two-story apartment/condominium building. He arrived at approximately 5:25 A.M.

and could hear loud music coming from an upstairs apartment. As he ascended the stairs, he

observed a pair of men's underwear at the foot of the stairs. He banged on the apartment door and

rang the doorbell but received no response. He described the music as "extremely loud." As he

continued attempting to obtain a response from the apartment, the adjoining neighbors came out and

told him that there had been a violent argument between a male and female the night before and that

the male had thrown clothes down the stairs.'

       Weldon continued to bang on the door for approximately 45 minutes. In an attempt to

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       ' The 'night before' referenced by the neighbors was the night of February 21st.
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ascertain the owner of the apartment, he contacted the leasing company. A security guard provided

him with the owner's identity. Weldon contacted the owner and learned that the apartment was

leased to Linda Grisson. He asked the owner bring a key to the apartment to him.

       Weldon then telephoned Ms. Grisson, who confirmed that she leased the unit but that her son

lived there. Weldon described the loud music coming from the apartment and told her that no one

answered the door. She told Weldon that if a Suburban and red van were in the parking lot, her son

was probably in the apartment. Weldon saw the vehicles in the parking lot and requested Grisson's

consent to enter the apartment. She told him she would call her son and have him answer the door.

After waiting five to six minutes, Weldon attempted to contact Ms. Grisson again, as no one had

responded from within the apartment. He couldn't reach her.

        At approximately 6:37 A.M., the owner of the apartment arrived and gave Weldon the key,

which he used to open the door. The door was chain locked and could only be opened three to four

inches. When the door opened, Weldon immediately detected a strong odor of marijuana and saw

the Defendant standing at a kitchen counter cutting what appeared to be crack cocaine. He also saw

a female in the kitchen cutting something with scissors. He observed a burnt marijuana joint on the

kitchen counter and saw Defendant sweep what appeared to be crack cocaine residue off the counter.

Weldon motioned for the Defendant to come to the door, which he did. While the Defendant was

opening the door, Weldon called for back-up.

       When the door opened, Weldon observed a dagger type knife on the floor near the

Defendant. Weldon pulled his gun and instructed the Defendant to get down on his knees, which he

refused to do. Defendant started "inching" toward Weldon in what Weldon described as an

aggressive manner, at which point Officers Anderson and Smith arrived. Anderson described
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Defendant as "bowed up" and "angry." He also observed the knife on the floor and smelled

marijuana. When Smith pulled a taser, Defendant finally complied and went to his knees on the

floor.

         After the Defendant and the female were detained and secure in the patrol cars, Anderson

returned to the apartment to secure it and encountered another female exiting the apartment. After

she was detained, Weldon and Anderson conducted a sweep of the apartment, during which they

observed a glass container with what appeared to be a full cookie of crack cocaine in it and another

container containing what appeared to be crack cocaine residue.

         From the time Weldon first arrived at the apartment until it was swept more than an hour

later, the music had continued. During the sweep, Weldon located the source of the music, a stereo

boombox, which he unplugged. After the apartment had been swept and secured, Officer Smith

obtained a written consent from the Defendant to search the Suburban and the apartment. Defendant

was read his Miranda warnings and requested to speak with someone about narcotic activity.

Thereafter, Defendant spoke with a detective and made admissions involving drug activities.*

         Linda Grisson, the mother of the Defendant, testified. She denied telling Officer Weldon

that if her son's vehicles were in the parking lot, he was probably there. She maintains that she told

him she would call someone else, who she identified as Larry Moore, to go to the apartment. The

inconsistency between Officer Weldon's version of the telephone conversation and Ms. Grisson's

is easily resolved, the Court finding that Ms. Grisson is not credible.

         A warrantless search of a residence is presumptively unreasonable and unconstitutional.



          Defendant does not challenge the consents. Defendant's entire argument rests on his contention
that the warrantless entry into the residence was unconstitutional.
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Payton v. New York, 445 U.S. 573, 586 (1980). Exceptions to the requirement of a warrant to

conduct a search of a residence exist in "only a few, exceptional circumstances." United States v.

McGough, 412 F.3d 1232, 1247 (1 lth Cir. 2005). One such exception is when a police officer

reasonably believes a person within a residence is in need of immediate aid. Id. Moreover, if an

officer observes contraband in plain view while inside a residence responding to a legitimate

emergency, that evidence may be seized. Id., citing Mincey v. Arizona, 437 U.S. 385, 392 (1978).

       In this case, the parties agree that the constitutionality of Officer Weldon's entry into

Defendant's apartment turns on whether or not exigent circumstances e ~ i s t e d . When
                                                                                    ~    exigent

circumstances confront a police officer, an immediate response is required, particularly where there

is danger to human life. United States v. Holloway, 290 F.3d 133 1, 1334 (1 1th Cir. 2002). In those

circumstances, when it is not feasible for an officer to obtain a warrant, the officer may lawfully

enter a residence without a warrant. Id.

       Based on all of the circumstances, the Court finds that Officer Weldon was confronted with

exigent circumstances sufficiently compelling that the warrantless entry into Defendant's apartment

was objectively reasonable under the Fourth Amendment. See Mincey, 437 U.S. at 394. From the

time Officer Weldon arrived at the apartment until he opened the door with the owner's key, more

than an hour had passed. During that entire time, the music continued to blare and he got no response

from within the apartment, notwithstanding banging on the door and ringing the doorbell

continuously for approximately forty-five minutes. He feared that someone inside was in danger,

based on what he was told by the neighbors. His concerns were elevated when he spoke with Ms.



          The Government does not rely 011 the "so called community care taking functions" of police
officers. See United States v. McCough, supra at 1239.
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Grisson, who told him her son should be inside the apartment if his vehicles were in the parking lot,

which they were.

       While Weldon did wait for more than an hour after arriving at the apartment before gaining

entry, during that time he exhausted all reasonable efforts to attract the attention of any inhabitants

by continuously banging on the door and ringing the doorbell. He made contact with the owner of

the apartment as well as the lessee, Ms. Grisson, in an attempt to gain entry. After speaking with Ms.

Grisson and being told she would have her son open the door, he waited another five to six minutes

before using the owner's key to open the door. Under the circumstances, his actions were

reasonable.

        While loud music in and of itself may not have constituted an exigent circumstance justifying

a warrantless entry, Weldon had banged on the door with no response for forty five minutes. During

that time, he learned that there had been a violent domestic argument the night before and had

observed men's underwear at the bottom of the stairs consistent with what the neighbors had told

him. When he learned from Ms. Grisson that her son was probably in the apartment, it was

reasonable for Weldon to conclude that there was potential danger to human life, that is, that the

assumed inhabitant was not able to respond because of injury, incapacitation or worse. At that point,

it was not feasible for him to obtain a warrant without risking that the delay would increase the risk

of danger to the assumed inhabitant.

        It was objectively reasonable law enforcement activity for Officer Weldon to use the owner's

key to enter the apartment without waiting for a warrant. The music had been blaring for well over

an hour. He had exhausted all reasonable efforts to attract the attention of any inhabitant of the

apartment and there was a reasonable concern from an objective perspective that human life was in
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danger. Once he gained entry, based upon the strong odor of marijuana and what he observed in the

kitchen, he had probable cause to arrest the Defendant and seize the contraband.

       Moreover, the officers were well within their discretion and authority to conduct a sweep of

the apartment for their own protection and to seize whatever contraband they observed in plain view

during the sweep. A protective sweep incident to a lawful arrest is valid if it is quick and the search

limited for the safety of the officers. United States v. Hromada, 49 F.3d 685,690 (1 1th Cir. 1995),

citing Horton v. California, 496 U.S. 128 (1990) ; see also United States v. Tobin, 923 F.2d 1506

(I 1th Cir. 1991), citing Coolidge v. New Ha~fzpshire,403 U.S. 443,465 (1 971)("Where the initial

intrusion that brings the police within plain view of [contraband] is supported, not by a warrant, but

by one of the recognized exceptions to the warrant requirement, the seizure is . . . legitimate.")

       Finally, the subsequent searches of the Suburban and the apartment were incident to the

written consent of the Defendant and were unquestionably reasonable. For these reasons, it is

        ORDERED AND ADJUDGED that Defendant's motions to suppress (Dkts. 57, 58) are

DENIED.
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        DONE AND ORDERED in chambers this             30 day of January, 2006.


                                                       fJnited States District Judge


Copies to: Counsel of Record
